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 1 PHILLIP A. TALBERT
   United States Attorney
 2 HEIKO P. COPPOLA
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        CASE NO. 2:12-CR-0080 TLN

12                               Plaintiff,           ORDER RE MOTION TO DISMISS
                                                      INDICTMENT
13                         v.

14   BRETT TOWNSEND,

15                               Defendant.

16

17          Pursuant to the motion of the United States, IT IS HEREBY ORDERED that Indictment against
18 Brett Townsend only in the above-entitled case is dismissed without prejudice.

19 Dated: October 3, 2017

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23                                                             Troy L. Nunley
                                                               United States District Judge
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     [PROPOSED] ORDER RE MOTION
     TO DISMISS INDICTMENT
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